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                              Colorado Christian University
                                        8787 West Alameda Avenue
                                           Lakewood, CO 80226
                                              303-963-3350
                                           warmstrong@ccu/cdu

                                              November 4, 2014


Catherine Lhamon, Assistant Secretary
U.S. Department of Education, Office for Civil Rights
Lyndon Baines Johnson Department of Education Building
400 Maryland Avenue, SW
Washington, DC 20202-1100

          Re:      Request for Religious Exemption from Certain Applications of Title IX

 Dear Ms. Lhamon:

       I hereby request, under 20 U.S.C. § 168l(a) (3) and 34 C.F.R. § 106.12, that the
Department of Education's Office for Civil Rights acknowledge that Colorado Christian
University (CCU} is exempt from Title IX of the Education Amendments of 1972 and its
accompanying regulations to the extent that they are interpreted to curtail the University's
freedom lo respond to transgcnder individuals in accordance with its religious convictions. As
President of CCU, I am the "highest ranking official of the institution," 34 C.F.R. § 106.12(b),
and thus qualified to seek these exemptions.

         CCU is a non-profit institution of higher education with its main campus in Lakewood,
 Colorado. It traces its origins to the founding of Denver Bible Institute in 1914. 1 A century
 later, CCU is a Christ-centered learning community committed to developing each student in
 mind, faith and character for a lifetime of meaningful work and service in a constantly changing
 world. 2 Its identity as a Christian institution is central to all it does and teaches. 3 Christ, the
 living Word, is the integrating center of Colorado Christian University, intentionally at the core
                               4
 of all that CCU is and does. The University exists to produce graduates who think critically,
 live faithfully, and impact effectively their spheres of influence. 5 This purpose is accomplished
 through a highly competent and dedicated faculty, an integrated academic curriculum, and
 student lite programs designed to strengthen faith, shape character, and nurture compassionate
                                  6
 response in a need-filled world.


 1
    http://www.ccu.edu/about/history/
 2
    http://www.ccu.edu/about!cssencc/
 1
    Id.
 J Id.
 5
    Id.
 1
  ' Id.




EXHIBIT 5                                                                                                1
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Letter to Catherine Lhamon
October 13. 2014
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         CCU 's educational philosophy is guided by its Statement of Faith, which is embraced by
                      7
all faculty and staff. The Statements affirms the key elements of the historical Christian faith.
assuring consensus on the foundational tenets of the faith. 9 The essence of the CCU experience
is its integration of faith and lcaming. 10 This distinctive integration of academic achievement.
character development, and spiritual formation prepares CCU graduates to honor God and
impact the world with their lives. 11

          ccu·s Board of Trustees have adopted strategic objectives that direct the implementation
 of the University's consistent mission and vision and provide context for its first priority: an
 enduring commitment to Jesus Christ and His Kingdom. 12 These strategic objectives include:

              •    I lonoring Christ and sharing His love on campus and around the world;
              •    Teaching students to trust the Bible, live holy lives and be evangelists;
              •    Giving students significant opportunities to serve the Lord while they are at CCU
                   and to help them develop a lifetime habit of such service;
              •    Impacting culture in support of traditional family values, sanctity of life,
                   compassion for the poor, a Biblical view of human nature, limited government,
                   personal freedom, free markets, natural law, original intent of the Constitution and
                   Western civilization: and
               •   Serving the Church. 13

          CCU states its vision as follows: "We env1s1on graduates, who think critically and
 creatively. lead with high ethical and professional standards, embody the character and
                                                                                  1
 compassion of Jesus Christ. and who thereby are prepared to impact the world." 1• It articulates
 its mission as follows: "Colorado Christian University cultivates knowledge and love of God in
 a Christ-centered community of learners and scholars, with an enduring commitment to the
 integration of exemplary academics, spiritual formation, and engagement with the world." 15

         On October 22. 20 I 0, CCU's Board of Trustees adopted a policy on homosexuality,
 transvestitism, and transgenderism. It reads in pertinent part as follows:

               [Ajlthough some Christians may take other positions concerning
               transvestitism and/or transgcnderism, CCU's position is clear as to both.
               As a matter of religious faith, conviction, and exercise, Colorado Christian
               University adheres to the Biblical admonitions against both transvestitism
               and transvestite behavior, as set forth in Deuteronomy 22:5, and


 'Id.
 K  http://www.ccu.cdu/about/wcbelievc/
 '' h1tp://www.ccu.edu/aboul/csscncc/
 io Id.
 II Id.
 12
    http://www.ccu.c<lu/s1ratcgicobjectivcs/
 "Id.
 14
    http:1/wv;w.ccu.cdu/about/mission/
 is Id.




EXHIBIT 5                                                                                                 2
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                transgenderism and transgendcr behavior, as set forth in Genesis 1:27.
                Therefore, Colorado Christian University prohibits all of its officers,
                trustees, employees, and students from engaging in, advocating, teaching,
                supporting, encouraging. defending, or excusing transvestitism and
                transvestite behavior and/or transgenderism and transgendcr behavior. in
                any form or for any purpose.

         CCU's         Student     Handbook      contains    the    following         section,   entitled   "Gender
Identification·,:

                Based on the mission of CCU, its standards, and uniqueness as a living
                and learning environment that honors Jesus Christ, the university
                recognizes that some students may struggle with their gender identity and
                wish to explore living as a particular gender other than the one that they
                were biologically created as. When a student is cooperative and willing to
                explore these feelings in an appropriate setting and not act out the feelings,
                the university will allow them to continue being a part of the CCU
                community if they are pursuing counseling and a mentoring relationship
                that will help them discuss appropriately who God made them to be. In
                this process, however. the university will uphold a view that we arc
                "fearfully and wonderfully made" in the uniqueness and image of God and
                therefore strategically and purposefully made as the biological gender we
                were born as. Because of this belief the university will not allow a student
                of a particular gender to dress and act differently than the biological one
                that God created them to be. When a student decides to identify as a
                gender other than their biological one. it is in their, and the university's,
                best interest for them to leave the university community. It is also in the
                best interest of the university and the student for them to separate
                themselves from the CCU community if she or he pursues a medical
                course of action to physically change their biological gender to that of
                another sex_H,

         In the employment context, both applicants and existing employees are required to affirm
 their commitment to CCU's Statement of Faith and Employee Lifestyle Expectations. 17 Those
 expectations include the following: "Members of the CCU community are expected to refrain
 from engaging in, advocating. teaching, supporting. encouraging, defending, or excusing
 homosexuality,    transvestitism,  transvestite behavior, transgenderism      and transgender
        . ,.Jk
 bc I1av1or.

         As you know, the Office for Civil Rights has not issued regulations or guidance
 explaining how an educational institution's response to a transgender individual might violate
 Title JX and its accompanying regulations. As you also know, however, the resolution

 16
      http://www.ccu.cdu/uploadedFiles/Pages/Campus_Lifc/handbook.pdf     (p. 144).
 17
      hllp:/ljobs.ccu.edu/
 ,s   http:/ljobs.ccu.cdu/cmploycc-lifcstyle-expectations




EXHIBIT 5                                                                                                             3
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Letter to Catherine Lhamon
October 13, 2014
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agrccment 19 between the Arcadia Unified School District and ED OCR (and the Department of
Justice) requires the school district to pcnnit transgender students to use the restroom, locker
room, and living accommodations of their choice, and to participate in athletic programs as a
member of their chosen sex.20 It is thus reasonable to suppose that ED OCR believes that such
responses are required by Title IX. It also reasonable to presume that your office interprets Title
IX to impose gender identity non-discrimination obligations upon covered institutions in the
employment context. To the extent these suppositions are correct, it appears as though
compliance with Title IX, as interpreted by ED OCR to reach transgender "discrimination."
would be inconsistent with the religious tenets of CCU.

       CCU accordingly requests that your office acknowledge that the University is exempt
from Title IX and the following implementing regulations (to the extent they are interpreted to
reach gender identity discrimination):

        34 C.F.R. § I 06.21 (admission)
        34 C.F.R. § I06.22 (preference in admission)
        34 C.F.R. § 106.23 (recruitment)
        34 C.F.R. § 106.31 (education programs or activities)
        34 C.F.R. § I06.32 (housing)
        34 C.F.R. § 106.33 (comparable facilities)
        34 C.F.R. § 106.34 (access to classes and schools)
        34 C.F.R. § 106.36 (counseling)
        34 C.F.R. § 106.37 (financial assistance)
        34 C.F.R. § 106.38 (employment assistance to students)
        34 C.F .R. § I 06.39 (health and insurance benefits and services)
        34 C.F.R. § 106.40 (marital or parental status)
        34 C.F.R. § 106.41 (athletics)
        34 C.F.R. § 106.43 (standards for measuring skill or progress in physical education
        classes)
        34 C.F.R. § 106.51-61 (relating to employment)

        Thank you in advance for your consideration. I look forward to hearing from you soon.
If you require anything further, please do not hesitate to contact me.




                                                             William L. Armstrong
                                                             President

11
 ' Resolution Agreement Between the Arcadia Unified School District, the U.S. Department of Education, Office for
Civil Rights. and the U.S. Department of Justice, Civil Rights Division, available at http://www.nclrights.org/wp-
contcnlluploads/2013/09/Arcadia_Resolution _agreement_07.24.2013.pdf.
?O Id. 7




EXHIBIT 5                                                                                                            4
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                          UNJTED STATES DEPARTMANT Of EDUCATION
                                             OFFICEFOR C:IVIL IUGHTS




                                               December 5, 2014

William L. Armstrong
President
Colorado Christian University
8787 West Alameda Avenue
Lakewood, CO 80226

Dear President Armstrong:

The purpose of this letter is to respond to your November 4, 2.014, letter to the U.S. Department
of Education, Office for Civil Rights (OCR), in which you requested a religious exemption for
Colorado Christian University of Lakewood, Colorado from Title IX of the Education
Amendments of 1972. Title IX prohibits discrimination on the basis of sex in any education
program or activity operated by a recipient of Fedei;al financial assistance. We are processing
your request and have determined that we need further information.

Subsection (a)(3) of Title IX, 20 U.S.C. § 1681 (a)(3), and the Department's implementing
regulation at 34 C.F. R. § 106.12 provide that Title IX and its regulations do not apply to an
educational institution controlled by a religious organization to the extent that application of
Title IX would not be consistent with the controlling organization's religious tenets. Such
educational institutions are allowed to claim an exemption from Title IX by identifying the
provisions of the Department's Title IX regulations that conflict with a specific tenet of the
controlling religious organization.

Your letter included sufficient information regarding the provisions of the Department's Title IX
regulations from which the University requests exemption. But your letter did not identify the
religious organization that controls the University. Your letter describes the University as "a
Christ-cente.red learning community" and states that it identifies as a "Christian institution," but
does not name a specific religious organization. An educational institution will normally be
considered to be controlled by a religious organization under Title IX if one or more of the
following conditions prevail:

    (I)     [tis a school or department of divinity, defined as an institution or a department
            or branch of an institution whose program is specifically for the education of
            students to prepare them to become ministers of religion or to enter upon some
            other religious vocation, or to prepare them to teach theological subjects; or



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Page 2: Letter to William L. Armstrong


   (2)    It requires its faculty, students or employees to be members of, or otherwise
          espouse a personal belief in, the religion of the organization by which it claims
          to be controlled; or

   (3)    Its charter and catalog, or other official publication, contains an explicit
          statement that it is controlled by a religious organization or an organ thereof or
          is committed to the doctrines of a particular religion, and the members of its
          governing body are appointed by the controlling religious organization or an
          organ thereof, and it receives a significant amount of finaneial support from the
          controlling religious organization or an organ thereof.

If you would like OCR to make a determination regarding the University's religious exemption
request, please let us know the specific religious organization that controls the University. Feel
free to provide any explanation or supporting documentation that may be helpful to OCR's
understanding. Ir you no longer desire a religious exemption detennination, please simply let us
know your wish to withdraw the request at this time so that we may close the request file.

Thank you for your cooperation. If you have any questions, please do not hesitate to contact me.
I can be reached at (202) 453-6048.

                                              Sincerely,




                                              Seth Galanter
                                              Principal Deputy Assistant Secretary
                                              Office for Civil Rights
                                              U.S. Department of Education




EXHIBIT 5                                                                                            6
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                           Colorado Christian University
                                  8787 West Alameda Avenue
                                  Lakewood, Colorado 80226
                                          303-963-3350
                                       warmstrong@ccu.edu




                                                            January 6, 2015

Via Federal Express
Seth Galanter
Principal Deputy Assistant Secretary
Office for Civil Rights
U.S. Department of Education
400 Maryland Ave. S.W.
Washington, D.C. 20202-1100

Re: Colorado Christian University Application for Religious Exemption under Title IX

Dear Mr. Galanter:

I have just received a phone message from you pointing out that my letter of December 22 nd
neglected to include the referenced attachments:

   •   Statement of Faith
   •   Lifestyle Expectations
   •   Strategic Objectives

I apologize for this oversight

An additional copy of my December letter and the attachments are attached hereto.

Thank you for drawing this matter to my attention.




                                                                                              --
                                                                              ] u,J\.,
                                                            William L. Armstrong
                                                            President


EXHIBIT 5                                                                                      7
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                          Colorado Christian University
                                  8787 West Alameda Avenue
                                   Lakewood, Colorado 80226
                                          303-963-3350
                                       warmstrong@ccu.edu




                                                             December 22, 2014

Seth Galanter
Principal Deputy Assistant Secretary
Office for Civil Rights
U.S. Department of Education
400 Maryland Ave. S.W.
Washington, D.C. 20202-1100

Re: Colorado Christian University Application for Religious Exemption under Title IX

Dear Mr. Galanter:

This is in response to your letter dated December 5, 2014, requesting further information from
Colorado Christian University regarding our request for a religious exemption from Title IX of
the Education Amendments of 1972.

Colorado Christian University ("CCU") requires all of its faculty and employees to espouse a
personal belief in the evangeiical Christian faith. Every applicant for any position at CCU must
sign an Application Acknowledgement agreeing to abide by CCU's Statement of Faith and
Statement of Lifestyle Expectations, and to adhere to traditional biblical values and CCU' s
Strategic Objectives. If an individual is offered a job at CCU, he or she must execute the
Statement of Faith and the Statement of Lifestyle Expectations before the hiring process is
complete. Each of these documents is ·attached for your reference.

Please do not hesitate to contact me if you have further questions about this matter.




                                                                                                   -
                                                                  .: William L. Armstrong
                                                                     ·President


EXHIBIT 5                                                                                          8
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                         UNITED STATES DEPARTMENT OF EDUCATION
                                               OFFICEFOR CML RIGHTS




June 28, 2016

William L. Armstrong
President
Colorado Christian University
8787 West Alameda Avenue
Lakewood, CO 80226

Dear President Armstrong:

I write to respond to your November 4, 2014, letter to the U.S. Department of Education's Office
for Civil Rights (OCR), in which you requested a religious exemption for Colorado Christian
University (University or CCU) of Lakewood, Colorado from Title IX of the Education
Amendments of 1972 (Title IX), 20 U.S.C. § 1681. In response to a request from OCR on
December 5, 2014, you submitted further information on December 22, 2014 about the
University's eligibility for an exemption from Title IX. Title IX prohibits discrimination on the
basis of sex in any education program or activity operated by a recipient of Federal financial
assistance.

Title IX and its implementing regulation at 34 C.F.R. § 106.12 provide that Title IX does not
apply to an educational institution controlled by a religious organization to the extent that
application of Title IX would be inconsistent with the controlling organization's religious tenets.
Therefore, such educational institutions are allowed to request an exemption from Title IX by
identifying the provisions of Title IX that conflict with a specific tenet of the religious
organization. The request must identify the religious organization that controls the educational
institution and specify the tenets of that organization and the provisions of the law or regulation
that conflict with those tenets.

Your December letter explains that the University "requires all of its faculty and employees to
espouse a personal belief in the evangelical Christian faith. Every applicant for any position at
CCU must sign an Application Acknowledgement agreeing to abide by CCU's Statement of
Faith and Statement of Lifestyle Expectations, and to adhere to traditional biblical values .... If
an individual is offered a job at CCU, he or she must execute the Statement of Faith and the
Statement of Life sty le Expectations before the hiring process is complete."

As stated in your November letter, you request an exemption to the extent that Title IX or its
implementing regulations "are interpreted to reach gender identity discrimination." In support of
this request, you explain that the University's Employee Lifestyle Expectations include the
following: "Members of the CCU community are expected to refrain from engaging in,
                                400 MARYLAND AVE. S.W., WASHINGTON, DC 20202-1100
                                                       www.ed.gov

  The Department of Education's mission is to promote student achievement and preparation for global competitiveness   by
                                fostering educational excellence and ensuring equal access.
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William L. Armstrong - page 2


advocating, teaching, supporting, encouraging, defending, or excusing homosexuality,
transvestitism, transvestite behavior, transgenderism and trans gender behavior." Your letter also
describes an October 2010 policy, adopted by the University's Board of Trustees, which states
that "although some Christians may take other positions concerning transvestitism and/or
transgenderism, CCU' s position is clear as to both. As a matter of religious faith, conviction,
and exercise, Colorado Christian University adheres to the Biblical admonitions against both
transvestitism and transvestite behavior, as set forth in Deuteronomy 22:5, and transgenderism
and transgender behavior, as set forth in Genesis 1:27."

You state that, for these reasons, the University is requesting an exemption from the following
regulatory provisions "to the extent they are interpreted to reach gender identity discrimination:"

    •   34 C.F .R. § 106.21 (governing admission);
    •   34 C.F .R. § 106.22 (governing preference in admission);
    •   34 C.F.R. § 106.23 (governing recruitment of students);
    •   34 C.F .R. § 106.31 (governing education programs or activities);
    •   34 C.F .R. § 106.32 (governing housing);
    •   34 C.F.R. § 106.33 (governing comparable facilities such as restrooms and locker
        rooms);
   •    34 C.F .R. § 106.34 (governing access to classes and schools);
   •    34 C.F.R. § 106.36 (governing counseling);
   •    34 C.F.R. § 106.37 (governing financial assistance);
   •    34 C.F.R. § 106.38 (governing employment assistance to students);
   •    34 C.F.R. § 106.39 (governing health insurance benefits and services);
   •    34 C.F .R. § 106.40 (governing different rules based on marital or parental status of
        students);
   •    34 C.F.R. § 106.41 (governing athletics);
   •    34 C.F.R. § 106.43 (governing standards for measuring skill or progress in physical
        education classes); and
   •    34 C.F.R. §§ 106.51-106.61 (governing employment).

The University is exempt from these provisions to the extent that they prohibit discrimination on
the basis of gender identity and·compliance would conflict with the controlling organization's
religious tenets.

Please note that this letter should not be construed to grant exemption from the requirements of
Title IX and the regulation other than as stated above. In the event that OCR receives a
complaint against your institution, we are obligated to determine initially whether the allegations
fall within the exemption here granted. Also, in the unlikely event that a complainant alleges
that the practices followed by the institution are not based on the religious tenets identified in
your request, OCR is obligated to identify a controlling organization to contact to verify those
tenets. If the organization provides an interpretation of tenets that has a different practical
impact than that described by the institution, or if the organization denies that it controls the




EXHIBIT 5                                                                                             10
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William L. Armstrong - page 3


institution, this exemption will be rescinded.

I hope this letter responds fully to your request. If you have any questions, please do not hesitate
to contact me.

                                                      Sincerely,



                                                      Catherine E. Lhamon
                                                      Assistant Secretary for Civil Rights
                                                      U.S. Department of Education




EXHIBIT 5                                                                                          11
